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                                UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION                                        ENTERED
                                                                                                07/07/2020
IN RE:                                                    §
GRANITE TRUCKING, INC.                                    §        CASE NO: 20-31175
       Debtor                                             §
                                                          §        CHAPTER 7

                    ORDER DENYING APPLICATION FOR COMPENSATION

           This matter is before the Court on the Application for Compensation filed by Russell Van

Beustring as Attorney for the Debtor-in-Possession (ECF No. 53). This bankruptcy case was

converted to a chapter 7 case on June 10, 2020 (ECF No. 50), at which time Granite Trucking,

Inc. ceased to be a debtor-in-possession. At no time has Russell Van Beustring been appointed

by the Court as counsel for the debtor. 11 U.S.C. § 330(a) does not authorize payment of

attorney’s fees unless the attorney has been appointed under section 327 of the Code1

           THEREFORE, IT IS ORDERED that the Application for Compensation filed by

Russell Van Beustring is denied.

           SIGNED: 07/07/2020.


                                                          ___________________________________
                                                          Jeffrey P. Norman
                                                          United States Bankruptcy Judge




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    Lamie v. U. S. Trustee, 540 U.S. 526, 124 S.Ct. 1023, 157 L.Ed2d 1024 (2004)
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